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       Case 3:16-md-02741-VC Document 8026 Filed 11/27/19 Page 1 of 3




                                  UNITED STATES JL'DICIAL PA.""i"EL
                                               on
                                   MULTIDISTRICT LITIGATION



IN RE: ROL'NDUP PRODL'CTS LIABILITY
LITIGATION                                                                               :vlDL No. 2741



    F\LED                                (SEE A TT ACHED SCHEDCLE)
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0     ctober 3, 2016, the Panel transferred 19 civil action(s) to the United States District Court for
the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 214 F.Supp.3d 1346 (J.P.:vl.L. 2016). Since that time, 2,054 additional
action(s) have been transferred to the Northern District of California. With the consent of that court,
all such actions have been assigned to the Honorable
                                            .,        Vince Chhabria.

It appears that the action(s) on this condit;onal transfer order involve .questions of fact that are
common to the actions previously transferred to the Northern District of California and assigned to
Judge Chhabria.

Pursuant to Rule 7 .1 of the Rules of Procedure of the C nited Stti,tes Judicial Panel on Multidistrict
Liti~ation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of California for the reasons stated in the order of October 3, 2016, and, with the
consent of that court, assigned to the Honorable Vince Chhabria.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of California. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7-day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:


                           ov 26, 2019
                                                            )*L~/l-·-
                           CLERK'S OFFICE
                               JNITED STATES
                                                       John W. Nichols
                             JUOIC1AI. PANEL ON
                          MULTIDISTR.!CT LITIGATION    Clerk of the Panel
    Case 2:19-cv-04897-GEKP Document 3 Filed 11/27/19 Page 2 of 3
    Case 3:16-md-02741-VC Document 8026 Filed 11/27/19 Page 2 of 3




IN RE: ROUNDUP PRODL'CTS LIABILITY
LITIGATION                                                                                   MDL No. 2741



                     SCHEDULE CT0-168 -TAG-ALONG ACTIO'.'l"S



            lllY,_      C.A.NO,     CASE CAPTION

ALABAMA NORTHERN

  ALN         5         19-01612    Anderson v. Monsanto Company
                                                                                       ...
FLORIDA SOUTHERN

  FLS         0         19-62710    Shahady v. Monsanto Company

ILLINOIS NORTHE~                                                                 ,:,




  ILN                   19-06737    Hartweck v. Ylonsanto Company

IOWA NORTHERN

  IAN         +         19 00110    Junge   ·1 •   .MoHsaHto Ooffipl:lfly, !He Vacated 11/26/19

KENTUCKY WESTERN

  KYW         4         19-00147    Purdy et al v. Monsanto Company

MINNESOTA

  MN          0         19-02636    Holzer, Jr. v. Monsanto Company
  MN          0         19-02637    Senack, Sr. v. Ylonsooto Company

MISSOCRI EASTER.'J

  MOE         4         19-02023    Hooks v. Ylonsanto Company
  MOE         4         19-02325    Bush v. Monsanto Company
  MOE         4         19-02348    Ylitchell v. Monsanto Company
  MOE         4         19-02349    Redwine v. Monsanto Company
  MOE         4         19-02369    Estate of Larry Sharpe et al v. Monsanto Company
  MOE         4         19-02387    Holden v. Ylonsanto Company
  MOE         4         19-02389    Schumm v Ylonsanto Company
  MOE         4         19-02397    Paul v. Monsanto Company
  YIOE        4         19-02403    Yleyer v. Monsanto Company
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         Case 3:16-md-02741-VC Document 8026 Filed 11/27/19 Page 3 of 3

   :\10E         4       19-02405     Davidson v. Monsanto Company
   MOE           4       19-02406     Clark v. :\1onsanto Company
   MOE           4       19-02407     Wright v. Monsanto Company
   MOE           4       19-02408     Payton v. Monsanto Company
   MOE           4       19-02409     Dabbraccio v. Monsainto Company
   MOE           4       19-02410     McAteer v. Monsanto Company
   MOE           4       19-02411     Hodge v. :\1onsanto Company
   :\10E         4       19-02412     Oliver v. Monsanto Company
   :\10E         4       19-02413     Dodson v. :\1onsanto Company
   :\10E         4       19-02440     Frazier v. Monsanto Company
   MOE           4       19-02624     Jarvis v. Monsanto Company
   MOE           4       19-02646     As bey v. :\1onsanto Company
   MOE           4       19-02706     Poe v. Monsanto Company
   MOE           4       19-02709     Long v. Monsanto Company
   MOE           4       19-02945     Devers et al v. Monsanto Company
   MOE           4       19-02946     Lewis v. Monsanto Company
   MOE           4       19-02947     Barnes v. Monsanto Company
                                                      ...,,
KEW JERSEY                                           ...

        NJ       2       19-19588     VA~DER GROEF et al v. MO:t-,;SANTO COMPANY
        NJ       3       19-19582     ROSENBLATT v. MO~SANTO C0:\1PA;\l'Y
 .,,,                                               .,,
NEW YORK EASTERN

    :t-,;YE      2       19-06157     Sievers v. Monsanto Company

PENNSYLVANIA EASTER:!',;

        PAE      2       19-04897     WIGGLESWORTH v. :\10NSANTO C0:\1PANY
        PAE      5       19-05043     GARD~ER et al v. ~ONSANTO C0:\1PA~Y

TEXAS EASTERN

        TXE      9       19-00199     Ronay v. Monsanto Company

WASHINGTON WESTERN

  WAW            2       19-01763     Dormaier v. Monsanto Company
